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UNITED STATES DISTRICT Ses’ Sf Pon
EASTERN DISTRICT OF NOCH Ae

SOUTHERN DIVISION ¢,. 7, Ds. 59
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"7

UNITED STATES OF AMERICA,
Plaintiff, CRIM. NO. 95-CR-50061-01

HON. PAUL V. GADOLA
Vv.

D-1 DION ERIC SAVAGE,

Defendant.

 

VERDICT FORM

We, the jury, by unanimous verdict, find the defendant, Dion Eric Savage:

Not Guilty Guilty
Count One 4
Count Two Vv
Count Six VA

 
   

Dated: / ~ 7 9 7

Foreperson

 

 
